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                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MONTANA

  In re,                                           Case No. 15-60979-11

  SHOOT THE MOON, LLC,                      PETITIONER DENNIS CONNER’S
                                            BRIEF IN SUPPORT OF MOTION
               Debtor,                       TO FILE PERSONAL CLAIMS
                                               AGAINST TRUSTEE AND
                                                HIS ATTORNEY UNDER
                                                 BARTON DOCTRINE
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       Petitioner Dennis Conner (“Conner”) has moved this Bankruptcy Court,

 asking for leave to initiate a Montana Federal District Court claim personally against

 Trustee Jeremiah Foster (“Foster”) and his attorney, David Cotner (“Cotner”), for

 sanctions and attorney fees. The Barton doctrine extends limited protection to Foster

 and Cotner as court-appointed officers of the Bankruptcy Court. Under the Barton

 doctrine, however, this Court may grant Conner leave to sue Foster and Cotner

 personally if a prima facie case is established for breach of fiduciary duties. In re

 Crown Vantage, Inc., 421 F.3d 963, 972 (9th Cir. 2005).

                           SUMMARY OF ARGUMENT

       Upon information and belief, Conner contends that Foster and Cotner, as his

 attorney, have willfully and deliberately breached fiduciary duties owed creditors

 by: (1) filing adversary proceedings without having done adequate investigation to

 determine the legitimacy of the claims; (2) spending money in the debtor’s estate on

 adversary proceedings not well grounded in fact; (3) failing to terminate adversary

 proceedings after it became obvious the claim was frivolous and without merit; and

 (4) wrongfully running up litigation expenses. This conduct is the result of actions

 directed by Foster from which he wrongfully profits from his company’s, Resolute

 Commercial Services, LLC (“Resolute”), involvement in the Chapter 11 Estate of

 STM (“STM”) bankruptcy and adversary actions filed by its Liquidating Trust

 (“Trust”). His profiteering creates a disincentive for expeditiously closing the Estate

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 and an incentive for maintaining the creative prosecution of baseless and marginal

 claims. The result is the financial bleeding of the Estate’s creditors and unreasonable

 taxing of the liquidating trusts adversaries’ (including Conner’s) time and money.

                            FACTUAL BACKGROUND

       On November 5, 2015, after Foster declared he was a principal in Resolute

 and its disinterestedness in the proceedings (Docs. 26 and 60, BC), this Court

 appointed him trustee, without condition, for the Chapter 11 Estate of STM. (Doc.

 61, BC.)

       11 U.S.C. § 1104(d) governs the process of trustee appointment in a Chapter

 11 case. It provides:

       If the court orders the appointment of a trustee, ... then the United States
       trustee, after consultation with parties in interest, shall appoint, subject
       to the court’s approval, one disinterested person other than the United
       States trustee to serve as trustee ... in the case. [Emphasis supplied.]

       A trustee who hires his own professional firm to assist him cannot be a

 “disinterested person” who has no interest adverse to the estate. Once the trustee’s

 firm is hired by the estate, the trustee’s personal interests are implicated. In re Palm

 Coast, Matanza Shores Ltd. P'ship, 101 F.3d 253, 258 (2d Cir. 1996).

       A Chapter 11 trustee is bound by duty of loyalty, obligating trustees to refrain

 from self-dealing, avoid conflicts of interest and appearance of impropriety, treat all

 parties to the case fairly, and maximize the value of the estate. In re Spielfogel, 211


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 B.R. 133, 144 (Bankr. E.D.N.Y.1997). The main job of a trustee is to “collect and

 reduce to money the property of the estate for which such trustee serves, and close

 such estate as expeditiously as is compatible with the best interests of the parties in

 interest.” 11 U.S.C. § 704.

       Foster describes himself as a “serial entrepreneur.” (See attached Exhibit A,

 April 8, 2020, deposition of Jeremiah Foster, 13:13-17, with exhibits.) Included

 among Foster’s ventures is Resolute. Foster is the president and founder of Resolute

 through which he conducts a “financial advisory business.” (Foster deposition,

 12:13-17; 17:13-17.) Foster owns Resolute personally and through the beneficial

 interests of a trust belonging to him and his wife. (Id., 12:18-13:2.)

       To profit from the Chapter 11 Estate beyond trustee fees, on February 3, 2016,

 Foster applied to this Court for approval to employ Resolute to perform accounting

 and consulting services. (Doc. 240, BC). On February 16, 2016, the Acting United

 States Trustee objected because: “The Trustee’s proposal to hire his own firm

 represents a conflict of interest prohibited by section 327 of the Bankruptcy Code,

 and would also sidestep the limitations on trustee compensation in sections 326 and

 328.” (Doc. 275, BC).

       On February 18, 2016, the United States Trustee noticed a Subpoena for a

 Rule 2004 examination of Foster commanding production of copies of Foster's most

 recent K-1 regarding Resolute, Resolute’s most recent balance sheet and profit and

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 loss statement, and documents sufficient to show amounts paid to each employee of

 Resolute in 2015. (Doc. 286, BC). Facing this inquiry, Foster withdrew the

 Application for Employment of Resolute. (Doc. 434, BC.) Foster never reapplied

 for permission to hire Resolute in the Estate or adversary proceedings. (See attached

 Exhibit B, Answers to Conner’s Requests for Admission Nos. 38 and 39.)

       Despite withdrawing his employment application, Foster hired Resolute as his

 “team” in the Chapter 11 Estate and to assist in prosecuting adversarial claims:

       A.     When I was asked to be the operating Chapter 11 trustee,
              Resolute, as a result of being my firm, worked with me, but they
              were never formally hired, because Neal Jensen did not think of
              it as a scenario that he wanted to suggest. So I ultimately
              engaged the services of my team to help me perform my duties.

 Foster deposition, 23:12-17.

       Resolute and Foster grotesquely profited from Resolute’s employment.

 Nicole Manos (“Manos”) is a Senior Managing Director for Resolute. Resolute pays

 her an annual salary of $110,000. (See attached Exhibit C, April 7, 2020 Manos

 Rule 30(b)(6) deposition on preferential transfer, 9:2.)        She worked these

 percentages of her time on STM: from October through December 2015, 90%;

 January to September 2016, 80% to 90%; October to December 2016, 60% to 70%;

 2017, at least 60%; 2018 through 2019, 40% to 50%; and 2020, 80%. (Id., 9:20-

 11:10.) As a standard, Manos works about 1,800 billable hours a year. (Id., 14:22-

 23.) At a discounted rate of $300 an hour, she generates $540,000 in annual income

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 for Resolute, for which she is paid $110,000. (Id., 15:3-11.) Several other Resolute

 employees worked for the Estate or Liquidating Trust. Conner has asked for

 discovery on amounts paid Resolute and its employees by STM and the Trust. (See

 attached Exhibit D, August 11, 2020, letter to Cotner from Conner’s attorney, Keith

 Marr, concerning discovery disputes.) Given Manos’ testimony, Resolute likely was

 paid over $1,000,000 by the Estate.

       This Court has retained jurisdiction over all matters arising out of and related

 to the Chapter 11 case and Plan over its Liquidating Trust, including determination

 of all controversies and disputes arising under the Trust agreement. (Docs. 1128,

 1141, BC.)

       On May 23, 2016, Foster, through Cotner, applied to Approve Employment

 of him and his law firm to investigate and pursue claims against third parties on

 behalf of the Estate. (Doc. 524, BC.)        The application outlined a proposed

 contingency fee, agreed to by the Trustee, with a sliding scale from 25% to 45% of

 a recovery. The proposed contract authorized Cotner “to incur all reasonable costs

 and to hire any investigators, consultants, or expert witnesses reasonably necessary

 in Cotner’s judgment.”

       On June 14, 2016, the Committee of Unsecured Creditors filed its Objection

 to Application of Trustee to Approve Employment of Contingency Counsel. (Doc.

 593, BC.) The Committee objected to the idea that “the Trustee: (a) should be

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 involved in pursuit of assets, or otherwise in this bankruptcy case, once the

 contemplated sale of all the Debtor’s assets has concluded, thereby earning a

 commission based fee with respect to the assets recovered and distributed in

 connection with such litigation; and (b) control who is ultimately engaged to pursue

 assets on behalf of the unsecured creditors or control the terms of such engagement

 given that the recovery of assets after the contemplated sale will be on behalf of the

 unsecured creditors and should, therefore be controlled by the Committee.” (Id.).

 The Committee raised its concerns with Cotner’s firm, discounted by Cotner as

 unimportant. The Committee asserted that Cotner’s disregard of the concerns of the

 Committee and his loyalty to Foster suggested a conflict of interest existed. The

 Committee informed the Court of an agreed-to contingency fee agreement between

 the Committee’s attorneys in which a much more beneficial fee structure for the

 Unsecured Creditors was proposed.

       On December 6, 2016, a hearing was held on Foster’s application to employ

 Cotner’s law firm. An audio recording is attached to Doc. 903. A transcript has

 been ordered. On December 8, 2016, this Court ordered Foster’s application

 approved and authorized him to employ Cotner’s firm. (Doc. 905, BC.) On May 1,

 2017, Cotner left his former law firm, and started his own firm, Cotner Law,

 PLLC. Foster asked and this Court approved employment of his present firm to



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 pursue claims against third parties on behalf of the estate under terms identical

 to those when Cotner was with his former firm. (Docs. 1052 and 1115, BC).

       Foster, having received the good news approving him and to work on the

 adversary claims, filed the Liquidating Trust’s First Quarterly Status Report on May

 22, 2018, noting “Counsel have retained Resolute Commercial Services as a

 financial consultant to compile Shoot the Moon accounting data for adversary claim

 support and reclassification of financial statements.” (Doc. 1207, BC.) On January

 1, 2020, Cotner gave Resolute a raise in the amount paid for its services through

 which Foster is grossly profiteering.        See attached Exhibit E, Answer to

 Interrogatory No. 4 of Plaintiff’s Responses to Second Set of Discovery Requests to

 Plaintiff. Resolute now charges $395 per hour for Manos’ trial and deposition

 testimony and $345 per hour for work when not testifying. (Exhibit C, Manos Rule

 30(b)(6) deposition on preferential transfer, 8:4-8.)

       Ten Quarterly Status Report have been filed by Foster as Liquidating Trustee

 through Cotner. (Doc. Nos. 1207, 1216, 1239, 1256, 1285, 1295, 1314, 1352, 1363,

 and 1364, BC.) As of the Tenth Quarterly Report, filed on July 17, 2020, $772,705

 has been paid to Resolute and $5,249.30 more is accrued for work done on behalf of

 Foster from which Foster is profiteering. (Doc. 1364, BC.)

       Conner believes that the adversary proceedings filed against him are frivolous

 and without merit and that Foster and Cotner are wrongfully running up litigation

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 expenses in prosecuting claims against him. He is filing summary judgment motions

 in federal district court and wishes to seek attorney fees personally from Foster and

 Cotner, which may depend on this Court’s granting relief under the Barton doctrine.

       Conner is not the only adversary of Foster and Cotner who holds the opinion

 that Foster and Cotner have filed frivolous claims while running up litigation

 expenses. Jerry Hall, who was the chairman of the Committee of Unsecured

 Creditors, and his wife, Jan, invested their entire $400,000 life savings in Shoot the

 Moon III, LLC (“STM III”) in return for its promissory notes. See attached Exhibit

 F, Affidavit of Jerry Hall at ¶¶ 1, 14. On October 20, 2017, Foster, through Cotner,

 filed an adversary proceeding against the Halls alleging they received $118,280.00

 in preferential transfers. Id. at ¶ 5. After being served with the summons, Cotner

 was advised through the Hall’s attorney that they had lost their entire $400,000 in

 life savings; and during the 90-day period before STM’s bankruptcy, they had

 invested $150,000 into STM III while only receiving $118,280 back in loan

 payments. Id. at ¶ 6. On May 8, 2018, a Second Amended Complaint was filed,

 again alleging the Halls owed $118,208.00 because of preferential transfers. By

 then, Foster and Cotner knew that during the preferential period, the Halls had

 invested $50,000 in STM III on July 24, 2015; $50,000 on August 31, 2015; and

 $50,000 on September 18, 2015. Foster and Cotner also knew the Halls had raised

 affirmative defenses, including that the payments were made in the ordinary course

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of business and according to ordinary business terms. Id. at ¶ 8. Based on their

attorney’s investigation and strong assurances, the Halls considered the adversarial

claim against them to be frivolous and totally without merit. Id. at ¶¶ 9-13.

Nevertheless, the Halls settled the adversary claim for $4,000 because they had

already paid their attorney approximately $13,000 and it would have cost them much

more to successfully defend than settle. Id. at ¶ 13.

      On June 14, 2016, Jerry Hall was chairman of the Committee of Unsecured

Creditors.   However, he had no idea until August 11, 2020, about Foster’s

connection with Resolute, its involvement in STM, or what would be its future

involvement in working for the Liquidating Trust; and based upon information and

belief, no other Committee member knew about Resolute’s involvement or

contemplated future involvement. Id. at ¶ 14.

      Historically, this Court has taken a dim view of the hiring of professionals

without Court approval, particularly when markups in fees are hidden, shortchanging

creditors. Conner is not aware of anything to suggest Resolute’s involvement has

been done with the U. S. Trustee’s consent or approval. It is very unlikely the

Assistant U.S. Trustee in Montana or the trial attorney in Montana would have

consented or approved, especially in light of the objection that the U.S. Trustee’s

office filed opposing the employment of Resolute. In similar cases, professional

fees have been disgorged. See the August 7, 2013, Motion for Examination and

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Disgorgement of Professional Fees and for Other Relief filed by the Office of the U.

S. Trustee in the case of Debtor, Vann’s Inc., US Bankruptcy Court for the District

of Montana, Case No. 12-61281-11, (Doc. 527); and the September 6, 2013,

Stipulation reached on disgorgement (Doc.559); and In Re Jore, 298 BR 703, the

case referenced in the U. S, Trustee’s argument in Vann’s where this Court ordered

disgorgement of professional fees.

                                  ARGUMENT

      Foster, a self-described “serial entrepreneur,” has exploited his trustee powers

for personal and financial gain to the detriment of Shoot the Moon creditors like

Conner. Through his scheme, aided by Cotner, Foster sues Shoot the Moon creditors

and drags them through protracted adversarial litigation. During this litigation,

Cotner hires Foster’s personally-owned consulting firm to provide accounting,

support, and “expert” opinions.      This business model likely generated over

$1,000,000 from the Estate and has generated over $770,000 from the Trust for

Resolute.   This business model dis-incentivizes expeditious resolution of all

adversarial claims and promotes prosecution of frivolous claims. This scheme

circumvents the statutory limited fee Foster would otherwise recover under the

bankruptcy statutes. This has led to: (1) filing of adversary proceedings without

having done adequate investigation to determine the legitimacy of the claims; (2)

spending money in the debtor’s estate on adversary proceedings not well grounded

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in fact; (3) failing to terminate adversary proceedings after it became obvious the

claim was frivolous and without merit; and (4) wrongfully running up litigation

expenses.

      In the preferential transfer claim against Conner, Foster’s only purported

expert on preferential transfer is Resolute employee Manos. When questioned about

Conner’s ordinary course of business defense, Manos replied, “I’m not familiar

with that.” See Exhibit C, Manos deposition at page 35. Manos is also Foster’s

purported expert on fraudulent transfer. Foster alleges that Shoot the Moon X

Realty, LLC, (“STMXR”) was insolvent when it made a fraudulent transfer to

Conner of property on August 6, 2014. Foster supports his claim through the

purported expert opinion of Manos. At page 22 of her March 31, 2020, expert

disclosure on fraudulent transfers, Manos admits:

      I have not performed an audit of financial statements in accordance
      with Generally Accepted Auditing Standards, nor have I performed
      a review or compilation of financial statements in accordance with
      the standards set forth by the American Institute of Certified Public
      Accountants.

      Through creative accounting, Manos puts the cash held in STMXR’s bank

account on August 6, 2014 at $86,017.20, just low enough to make the company

insolvent. She footnotes her opinion with a comment:

      Cash balance reflects the reconciled bank balance which included
      the removal of all intercompany transactions that would have been
      returned for non-sufficient funds as of August 6, 2014.

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      In response to Conner’s Requests for Admission Nos 5, 7, and 8, however,

Foster is forced, because of uncontroverted evidence, to admit that no checks

deposited into the STMXR account were returned for insufficient funds, nor

were any intercompany transfers voided for insufficient funds that would affect

its actual cash balance of $221,626.61 at the close of business on August 6, 2014.

      Neither Foster, Cotner, nor Manos have inspected the transferred property

they claim Conner paid too little for, and no expert appraiser has been identified

by Cotner to offer an opinion on the property’s value at the time of transfer.

Conner’s statements of uncontroverted facts on preferential and fraudulent

transfer in support of motions for summary judgment (attached as Exhibits G

and H) are replete with examples of why he should be granted summary

judgment and awarded attorney fees because of the equitable exception to the

general rule available in those unique factual situations in which a party is forced

into a frivolous lawsuit and must incur attorney's fees to dismiss the claim.

      The prevailing rule of law deems Foster, in his capacity as bankruptcy trustee,

an officer of the bankruptcy court. As such, a party must obtain permission from the

bankruptcy court to bring tort claims (malicious prosecution, breach of fiduciary

duties, etc.) against a bankruptcy trustee in another forum. See Crown Vantage, 421

F.3d at 970-71. The same rationale applies to claims against counsel representing


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the bankruptcy trustee. See In re Lowenbraun, 453 F.3d 314, 321 (6th Cir. 2006).

Courts refer to this procedural protocol as the Barton doctrine. However, the

doctrine’s protections are entirely procedural.     As noted by the United States

Bankruptcy Court for the District of Utah:

      Barton “does not shield trustees from lawsuits. Rather, the doctrine
      requires the bankruptcy court to determine where the suit may be
      brought, not whether the trustee may be sued.” In sum, Barton is
      strictly a “jurisdictional gatekeeping doctrine,” and it strips all courts—
      except the bankruptcy court that appointed the trustee—of subject-
      matter jurisdiction to hear a lawsuit against the trustee unless the
      appointing court gives its permission to sue the trustee elsewhere. Only
      if the Debtors' proposed complaints pass through Barton’s
      jurisdictional gate will the Debtors be able to file suit against the
      Trustee outside of this Court.

In re Christensen, 598 B.R. 658, 664-65 (D. Utah 2019). “[W]hile permission to

prosecute an action against a trustee can involve discretion, such permission

ordinarily should be granted unless it is clear that the claim is without foundation.”

Anderson v. United States, 520 F.2d 1027, 1029 (5th Cir. 1975); McDaniel v. Blust,

668 F.3d 153, 157 n.1 (4th Cir. 2012); In re National Heritage Foundation, Inc., 510

B.R. 526, 537 (E.D.Va. 2014).

                                  CONCLUSION

      Conner is pursuing the requisite leave from this Court to bring claims against

Foster and Cotner. Until Conner is given leave under the Barton doctrine, Foster

and Cotner can act with near impunity. Given the prima facie establishment of


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breach of fiduciary duties, the gravity of the situation and hardships Conner has

endured in defending against the frivolous claims, Conner’s motion for leave to

initiate Montana Federal District Court claims personally against Foster and Cotner,

for sanctions and attorney fees should be granted.

        Dated this 14th day of August, 2020.

                                       CONNER & MARR, PLLP

                                       By: _/s/ Keith D. Marr_______________
                                           Keith D. Marr, Bar No. 5999
                                           Attorneys for Dennis P. Conner




                          CERTIFICATE OF SERVICE

        I certify under penalty of perjury that a copy of the foregoing document was

served electronically to all interested parties by ECF on the 14th day of August,

2020.


                                       By: _/s/ Keith D. Marr_______________
                                           Keith D. Marr, Bar No. 5999
                                           Email: keith@connermarr.com
                                           Attorneys for Dennis P. Conner




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